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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                           )    CASE NO.:    1:11-CR-00026 LJO
11   UNITED STATES OF AMERICA,             )
                                           )    STIPULATION AND
12                    Plaintiff,           )    PROTECTIVE ORDER BETWEEN THE
                                           )    UNITED STATES AND NAMED
13                                         )    DEFENDANT
                v.                         )
14                                         )
                                           )
15   JULIE DIANNE FARMER,                  )
                                           )
16                                         )
                      Defendant.           )
17                                         )
                                           )
18
19        WHEREAS, the discovery in this case is voluminous and contains a
20   large amount of protected personal information including but not
21   limited to Social Security numbers, dates of birth, driver’s license
22   numbers, bank account numbers, telephone numbers, and residential
23   addresses (“Protected Information”); and
24        WHEREAS, the parties desire to avoid both the necessity of large
25   scale redactions and the unauthorized disclosure or dissemination of
26   this information to anyone not a party to the court proceedings in
27   this matter;
28        The parties agree that entry of a stipulated protective order is
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 1   appropriate.
 2        THEREFORE, defendant Julie Dianne Farmer, by and through her
 3   counsel of record (“Defense Counsel”), and plaintiff the United
 4   States of America, by and through its counsel of record, hereby agree
 5   and stipulate as follows:
 6        1.   This Court may enter protective orders pursuant to Rule
 7   16(d) of the Federal Rules of Criminal Procedure, and its general
 8   supervisory authority.
 9        2.   This Order pertains to all discovery provided to or made
10   available to Defense Counsel as part of discovery in this case
11   (hereafter, collectively known as “the discovery”).
12        3.   By signing this Stipulation and Protective Order, Defense
13   Counsel agree not to share any documents that contain Protected
14   Information with anyone other than Defense Counsel and designated
15   defense investigators and support staff.       Defense Counsel
16   may permit each defendant to view unredacted documents in the
17   presence of his attorney, defense investigators, and support staff.
18   The parties agree that Defense Counsel, defense investigators, and
19   support staff shall not allow the defendants to copy Protected
20   Information contained in the discovery.       The parties agree that
21   Defense Counsel, defense investigators, and support staff may provide
22   the defendants with copies of documents from which Protected
23   Information has been redacted.
24        4.   The discovery and information therein may be used only in
25   connection with the litigation of this case and for no other purpose.
26   The discovery is now and will forever remain the property of the
27   United States Government.     Defense Counsel will return the discovery
28   to the Government or certify that it has been shredded at the

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 1   conclusion of the case.
 2            5.      Defense Counsel will store the discovery in a secure place
 3   and will use reasonable care to ensure that it is not disclosed to
 4   third persons in violation of this agreement.
 5            6.      Defense Counsel shall be responsible for advising his
 6   respective defendant, employees, and other members of the defense
 7   team, and defense witnesses of the contents of this
 8   Stipulation and Order.
 9            7.      In the event that a defendant substitutes counsel,
10   undersigned Defense Counsel agrees to withhold discovery from new
11   counsel unless and until substituted counsel agrees also to be bound
12   by this Order.
13            IT IS SO STIPULATED.
14   DATED: 4/11/2011                      By:      /s/ Anthony P. Capozzi
                                                   ANTHONY P. CAPOZZI
15                                                 Attorney for Defendant
                                                   JULIE DIANNE FARMER
16
17   DATED: 4/11/2011                              BENJAMIN B. WAGNER
                                                   United States Attorney
18
19                                         By: /s/ Stanley A. Boone
                                               STANLEY A. BOONE
20                                             KIRK E. SHERRIFF
                                               Assistant U.S. Attorney
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              IT IS SO FOUND AND ORDERED. However, this Order does not
23
      dispense with compliance with the local rules dealing with the
24
      filing of matters under seal.
25
     IT IS SO ORDERED.
26
     Dated:        April 11, 2011             /s/ Lawrence J. O'Neill
27   b9ed48                               UNITED STATES DISTRICT JUDGE
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